             Case 3:05-cr-05208-FDB            Document 89         Filed 07/29/05       Page 1 of 1



1                                                    THE HONORABLE FRANKLIN D. BURGESS
2

3

4

5

6                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
7                                          AT TACOMA
8    UNITED STATES OF AMERICA,                       )
                                                     )       NO. CR05-5208FDB
9                            Plaintiff,              )
                                                     )
10                   v.                              )       ORDER TO CONTINUE
                                                     )       THE DATE TO FILE TRIAL BRIEF,
11   JOSE GALEANA,                                   )       WITNESS AND EXHIBIT LISTS,
     GENARO MATA-ABARCA,                             )       AND JURY INSTRUCTIONS
12   JORGE GALEANA-ABARCA and                        )
     SIMONE MATA-HERNANDEZ,                          )
13                                                   )
                             Defendants.             )
14                                                       )
15           THIS MATTER having come before the Court on the government’s motion to continue
16   the date to file its trial brief, witness and exhibit lists and proposed jury instructions, the Court
17   having reviewed the motion, and the records and files herein;
18           IT IS NOW THEREFORE ORDERED that the due date for the government to file its
19   trial brief, witness and exhibit lists and proposed jury instructions is continued by one week from
20   July 28, 2005 to August 4, 2005.




                                                     A
21
             DATED this 29th              day of   July                   , 2005.
22

23                                                   FRANKLIN D. BURGESS
24                                                   UNITED STATES DISTRICT JUDGE
     Presented by:
25
     s/ Patrica C. Lally
26   PATRICIA C. LALLY
27   Assistant United States Attorney
     WA Bar # 28910
28
     ORDER CONT DATE TO
     FILE TRIAL BRIEF
     GALEANA — 1                                                                             UNITED STATES ATTORNEY
                                                                                              700 Stewart Street, Suite 5220
     CR05-5208FDB                                                                            Seattle, Washington 98101-1271
                                                                                                      (206) 553-7970
